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IN THE UNITED STATES BANKRUPTCY C()URT
FOR THE DISTRICT OF DELAWARE

 

)
ln re ) Chapter 15
)
Hellas Telecornrnunications (Luxembourg) V, ) Case No. 10-13651 (KJC)
)
Debtor in a Foreign Proceeding. ) Rc= Docket No. 5_1) 53
)

 

FINAL DECREE CLOSING THE CHAPTER 15 CASE

ThiS matter COming before the Court On the Motion of the Fore£gn Representarive for
Entry of a Ft`nal Decree Closing the Chapter 15 Case, filed on .luly 9, 2013 [Docket No. 51]
(the “M”)' by Aiastair Beveridge, a partner of Zolfo Cooper LLP, l(} Fleet Place,
London EC4M 7RB, United Kingdorn, in his capacity as the duly appointed foreign
representative (the “Foreign Representative") of Hellas Telecommunications (Luxembourg)
V, a debtor in a voluntary restructuring proceeding pending before the High Court of Justice
of Engiand and Wales; and the Court having reviewed the Motion; and appropriate and
timely notice of the filing of the Motion having been given; and no other or further notice
being necessary or required; and the Court having determined that the legal and factual bases
set forth in the Motion and all other pleadings and proceedings in the Chapter 15 Case
establish just cause to grant the relief ordered herein; and after due deliberation, therefore

IT IS HEREBY ORDERED THAT:

1_ The Motion is GRANTED as set forth herein_

2. The Chapter 15 Case shall be, and is hereby, closed, effective as of the entry

of this Final Decree.

 

‘ Capitalizecl terms used but not otherwise defined herein shall have the meanings ascribed to them in
the Motion.

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3. Any orders heretofore entered by this Court in the Chapter 15 Case shall
survive the entry of this Final Decree.

4. Notwithstanding the closing of the Chapter 15 Case, the Foreign
Representative may reopen the Chapter 15 Case upon the filing of an appropriate notice with
this Court in connection with any request that the Court interpret, enforce or otherwise grant
relief in aid of any prior orders of this Court.

5. This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the entry and implementation of this Final Decree.

THE HONOR B EKEVINJ A EY
UNIT'ED STA E BANKR TCY JUDGE

Dated: , 2013
Wi in , Delaware

 

 

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